Case 1:19-cv-10219-PBS Document 15-2 Filed 06/26/20 Page 1of1

 

 

 

 

 

* CASE NO:
*
* .
Plaintiff, * JUDGE:
-VS- *
%*
* MOTION FOR EXTENSION OF
* TIME TO ANSWER
*
*
Defendant(s), Pro Se. *
ENTRY

The foregoing request is APPROVED/DENIED. Defendant(s)’ time to move, plead or otherwise

 

 

is extended to the

 

 

respond to Plaintiffs Complaint
, 201
It is so ORDERED.
JUDGE
Respectfully submitted,
, pro se
Telephone:

Defendant, pro se

day of
